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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PUBLIC INTEREST LEGAL FOUNDATION,                    :      1:20-cv-1905
         Plaintiff,                                  :
                                                     :
                          v.                         :      Hon. John E. Jones III
                                                     :
KATHY BOOCKVAR, Secretary of the                     :
Commonwealth of Pennsylvania, in her                 :
official capacity                                    :
             Defendant.                              :


                                       ORDER

                                    April 1, 2021

      It having been reported to the Court that the parties have achieved resolution

of this matter and are awaiting the final conditions of settlement, IT IS

ORDERED THAT this action is DISMISSED without costs and without

prejudice to the right of either party, upon good cause shown, to apply for

reinstatement of the action within sixty days of the date of this Order if settlement

has not been consummated.

      After the expiration of 60 days and in the event no application for

reinstatement is filed by either party before the expiration of 60 days, this action

shall be deemed DISMISSED WITH PREJUDICE.

                                               s/ John E. Jones III
                                               John E. Jones III, Chief Judge
                                               United States District Court
                                               Middle District of Pennsylvania
